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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

   UNITED STATES OF AMERICA

       v.                                                Criminal No.: ELH-02-0381

   DONTE ROLANDO HARRIS,
       Defendant.

                                 MEMORANDUM OPINION

       Donte Rolando Harris filed a pro se “Motion for Modification of an Imposed Term of

Imprisonment, Alternately, Motion for Sentence Reduction Pursuant to the First Step Act of 2018

– 18 U.S.C. 3582(c)(1)(A).” ECF 278. Thereafter, through counsel, Harris filed a “Motion for a

Sentence Reduction Pursuant To 18 U.S.C. § 3582(c)(1)(A)(i).” ECF 290 (collectively, the

“Motion”). The Motion is supported by twelve exhibits. ECF 290-1 to ECF 290-12.

       Harris, who is now 46 years of age, has been incarcerated since August 2002. He is serving

a sentence of 50 years for a series of armed robberies, imposed in January 2004 by Judge William

Nickerson. 1 Harris seeks either immediate release or a reduction of his sentence to 25 years, due

to “extraordinary and compelling reasons” that, in his view, warrant compassionate release.




       1
       The case was originally assigned to Judge Benson E. Legg. The case was reassigned to
Judge William Nickerson in 2003. Because Judge Nickerson has retired, the case was reassigned
to me.

         Many of the proceedings in this case took place before the use of electronic filing. The
first electronic filing was docketed on December 1, 2009, at ECF 196. However, I reviewed the
Chambers files maintained by Judge Benson E. Legg and Judge William Nickerson. Moreover,
in connection with earlier motions filed by the defendant, I ordered the official court file from
the federal archives and reviewed it. See ECF 275.
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       The government opposes the Motion. ECF 297. Defendant has replied. ECF 299. He also

filed three supplements. ECF 301; ECF 302; ECF 303. And, on December 16, 2020, defendant’s

counsel informed the Court that defendant recently tested positive for COVID-19. ECF 303.

       No hearing is necessary to resolve the Motion. For the reasons that follow, I shall grant

the Motion, in part. I shall reduce the total sentence to 30 years.

                                   I.      FACTUAL BACKGROUND 2

       On January 23, 2003, Harris and four codefendants were charged in a twenty-three count

Second Superseding Indictment. See ECF 297-3. 3 In particular, Harris was charged with

conspiracy to commit bank robbery, in violation of 18 U.S.C. § 371; bank robbery, in violation of

18 U.S.C. § 2113(a), (d) & (f); aiding and abetting, in violation of 18 U.S.C. § 2; and using,

carrying, brandishing and possessing a firearm during and in relation to a crime of violence, in

violation of 18 U.S.C. § 924(c).

       On March 24, 2003, Harris entered his first guilty plea. See ECF 297-4 (Presentence

Report, “PSR”) at 3. He pleaded guilty to conspiracy to commit bank robbery (Count One); bank

robbery (Count Two); and brandishing a firearm in furtherance of a crime of violence (Count

Three). Id. Notably, in the plea agreement, the parties agreed to a total sentence of 25 years’


       2
         The procedural history and factual summary set forth in the Court’s Memorandum
Opinion of March 2, 2020 (ECF 275) are incorporated by reference and repeated as necessary to
provide context and to resolve the pending Motion.
       3
         Three of Harris’s codefendants pled guilty and a fourth was convicted after trial. Juan
Deante Dixon was sentenced to a total term of 216 months’ incarceration after pleading guilty to
one count of bank robbery, one count of aiding and abetting, and one count of using or carrying a
firearm in relation to a crime of violence. ECF 81. Talina Bell received 12 months’ incarceration
for one count of aiding and abetting. See Docket. And, Sherone Denise Barnes received
probation for one count of robbery. See Docket. Following a six-day trial, Billy Campbell
Harding was convicted of conspiracy to commit bank robbery, five bank robberies or attempted
bank robberies, and four counts of using or carrying a firearm in relation to a crime of violence.
See Docket. He was sentenced to a total term of 96 years of incarceration. ECF 110.
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imprisonment. Id. ¶ 4. However, on April 15, 2003, Harris sent a letter to the Court, expressing his

desire to withdraw his guilty plea. ECF 75. A new lawyer was appointed for Harris and, following

a hearing at which Harris was represented by his new lawyer, Judge Legg allowed him to withdraw

his plea of guilty. ECF 112.

       As a result, Harris proceeded to a jury trial, beginning on January 5, 2004, at which Judge

Nickerson presided. See Docket. During the first week of trial, the government presented more

than 40 witnesses. Then, Harris again expressed interest in entering a plea of guilty. By that point,

his Presentence Report (ECF 297-4) had already been prepared, in anticipation of sentencing in

accordance with the first guilty plea.

       According to that PSR, Harris had a combined adjusted offense level of 32, based on all of

the bank robberies. Id. ¶ 115. The PSR did not include any deductions for acceptance of

responsibility. Id. ¶ 116. Further, the PSR indicated that defendant qualified as a Career Offender

under U.S.S.G. § 4B1.1, based on three prior convictions for crimes of violence. Id. ¶ 118. Notably,

and as discussed, infra, the predicate offenses were two burglary convictions and one daytime

housebreaking conviction. Id. ¶ 118. Moreover, the PSR reported that defendant agreed that he

qualified as a Career Offender. Id. ¶ 5. As a result, the defendant had a final offense level of 34.

Id.

       The PSR recounted Harris’s criminal history. According to the PSR, Harris was convicted

on two occasions in 1992, when he was 17 years of age. Id. ¶¶ 122, 123. In particular, he was

convicted of theft and daytime housebreaking, for which he was sentenced to one year

incarceration and to fifteen months’ imprisonment, respectively. Id. In 1994, the defendant was

convicted of “Burglary-Intent to Steal-Night,” for which he received an eight-year sentence, with

all but 18 months suspended. Id. ¶ 124. In 1995, Harris was found guilty of nighttime burglary, for



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which he was sentenced to eight years’ imprisonment, with all but 18 months suspended. Id. ¶¶

125. He violated his probation for the offenses referenced in ¶¶ 124 and 125 and, on November 1,

1995, he received concurrent sentences of five years’ incarceration. Id. Then, in 1996, Harris was

convicted of unauthorized use and malicious destruction. Id. ¶ 126. He received a total sentence

of five and a half years of imprisonment, consecutive to the sentence imposed for the offense in ¶

124. Harris was paroled in 2000. Id. ¶¶ 124, 125.

       These criminal convictions resulted in a total of 14 criminal history points. Id. ¶ 127. Two

points were added because the underlying bank robbery offenses were committed while defendant

was on parole, and one point was added because the underlying offenses were committed less than

two years after Harris was released from custody. Id. ¶¶ 128, 129. Thus, Harris had seventeen

criminal history points, which equated to a Criminal History category of VI. Id. ¶ 130.

Alternatively, as a result of his status as a Career Offender, Harris had a Criminal History Category

of VI. Id. ¶ 131.

       Harris entered a plea of guilty on January 12, 2004. According to the Judgment (ECF 122),

Harris pled guilty to Counts Two, Three, Four, Five, Six, Eight, Ten, Twelve, Fourteen, Sixteen,

Eighteen, Twenty, and Twenty-Two of the Second Superseding Indictment. Counts Three and Five

charged using, carrying, and brandishing a firearm on January 11, 2002 and February 12, 2002,

respectively, during and in relation to a crime of violence. The remaining counts charged bank

robbery and aiding and abetting between January 11, 2002 and July 29, 2002. The parties stipulated

to a total sentence of 50 years’ imprisonment. ECF 297 at 2.

       Harris proceeded directly to sentencing. At the time of sentencing, Harris was 29 years of

age. See ECF 297-4 at 1. According to the PSR, Harris reported that he was in good health. Id. ¶

153.



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       Judge Nickerson sentenced Harris to concurrent terms of 18 years for the robbery charges

(Counts Two, Four, Six, Eight, Ten, Twelve Fourteen, Sixteen, Eighteen, Twenty, and Twenty

Two). Count Three, by statute, required a mandatory, consecutive sentence of seven years’

imprisonment, and Count Five required a mandatory, consecutive sentence of 25 years’

incarceration. Thus, the Court sentenced Harris to a total term of 50 years of imprisonment. ECF

122. Despite the length of the sentence, Judge Nickerson indicated that the Plea Agreement was

“very favorable” to Mr. Harris, in light of “the overwhelming evidence against him and the even

longer sentence that would be imposed had he been convicted at trial.” ECF 156 at 2 (citing

Transcript of January 12, 2004 at 19).

       Harris subsequently filed for post conviction relief under 28 U.S.C. § 2255. See ECF 134;

ECF 140. In a Memorandum Opinion docketed March 8, 2006 (ECF 156), Judge Nickerson

recounted the history of the case. He noted that Harris participated in eleven armed bank robberies

between January and August 2002, some of which included the actual or planned abduction of

bank employees. Judge Nickerson denied the petition for post conviction relief. See ECF 157

(Order of March 8, 2006).

       Harris filed a second motion under § 2255 on November 22, 2006. ECF 172. It was denied

on December 6, 2006. ECF 173; ECF 174. Then, on June 16, 2016, Harris filed a motion seeking

relief under Rule 60(b) of the Federal Rules of Civil Procedure. ECF 239. Judge Nickerson

regarded that motion as “a successive [§ 2255] petition.” ECF 244 at 2. He dismissed the motion

by Memorandum and Order of May 30, 2017. ECF 244; ECF 245.

       In 2017, Harris also filed for habeas relief in the Southern District of Indiana. According

to the government, relief was denied in that matter. See ECF 271 at 1 n.1 (citing Case No. 2:17-

CV-00338-JMS-MJZ).



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         Harris again filed a motion for declaratory relief on August 2, 2019, challenging his

conviction and sentence. ECF 261. By Memorandum and Order of March 2, 2020, I construed the

motion as an unauthorized, successive § 2255 petition and denied it. ECF 275; ECF 276.

         Harris, who was born in 1974, is now 46 years of age. He was recently transferred from

USP Marion, a high security facility, to FCI Memphis, a medium security facility. ECF 301. Harris

has served over 18 years of his 50-year sentence, which equates to about 36% of his sentence,

exclusive of good time credits under 18 U.S.C. § 3624(b). ECF 290 at 1. His projected release

date, according to the Bureau of Prisons (“BOP”), is June 11, 2048. Id. at 4. Defendant would be

about 74 years of age at that time.

         Harris’s medical records reflect various health issues, including high blood pressure,

prediabetes, and kidney disease. ECF 292 (Medical Records). Harris is also overweight with a

BMI of 29. Id. at 2. Notably, Harris tested positive for COVID-19 on December 16, 2020. ECF

303.

         The defendant filed a claim with the Warden seeking compassionate release in May 2020.

ECF 290-1. Defendant’s claim was denied. ECF 290-2. Harris’s appeal was also denied. See ECF

290-4.

                                      II.   STANDARD OF REVIEW

         Ordinarily, a court “may not modify a term of imprisonment once it has been imposed.”

18 U.S.C. § 3582(c); see United States v. Chambers, 956 F.3d 667, 671 (4th Cir. 2020); United

States v. Jackson, 952 F.3d 492, 495 (4th Cir. 2020); United States v. Martin, 916 F.3d 389, 395

(4th Cir. 2019). But, “the rule of finality is subject to a few narrow exceptions.” Freeman v.

United States, 564 U.S. 522, 526 (2011). One such exception is when the modification is

“expressly permitted by statute.” 18 U.S.C. § 3582(c)(1)(B); see Jackson, 952 F.3d at 495.


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       Commonly termed the “compassionate release” provision, 18 U.S.C. § 3582(c)(1)(A)(i)

provides a statutory vehicle to modify a defendant’s sentence. Section 3582 was adopted as part

of the Sentencing Reform Act of 1984. It originally permitted a court to alter a sentence only upon

a motion by the Director of the BOP. See Pub. L. No. 98-473, § 224(a), 98 Stat. 2030 (1984).

Thus, a defendant seeking compassionate release had to rely on the BOP Director for relief. See,

e.g., Orlansky v. FCI Miami Warden, 754 F. App’x 862, 866-67 (11th Cir. 2018); Jarvis v.

Stansberry, No. 2:08CV230, 2008 WL 5337908, at *1 (E.D. Va. Dec. 18, 2008) (denying

compassionate release motion because § 3582 “vests absolute discretion” in the BOP).

       However, for many years the safety valve of § 3582 languished. The BOP rarely filed

motions on an inmate’s behalf. As a result, compassionate release was exceedingly rare. See

Hearing on Compassionate Release and the Conditions of Supervision Before the U.S. Sentencing

Comm’n 66 (2016) (statement of Michael E. Horowitz, Inspector General, Dep’t of Justice)

(observing that, on average, only 24 inmates were granted compassionate release per year between

1984 and 2013).

       In December 2018, Congress significantly amended the compassionate release mechanism

when it enacted the First Step Act of 2018 (“FSA”). See Pub. L. 115-391, 132 Stat. 5239 (2018);

see United States v. McCoy, __ F.3d __, 2020 WL 7050097, at *2 (4th Cir. Dec. 2, 2020). As

amended by the FSA, 18 U.S.C. § 3582(c)(1)(A) permits a court to reduce a defendant’s term of

imprisonment “upon motion of the Director of [BOP], or upon motion of the defendant after the

defendant has fully exhausted all administrative rights to appeal a failure of the [BOP] to bring a

motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility,” whichever occurs first. So, once a defendant has exhausted

his administrative remedies, he may petition a court directly for compassionate release. United



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States v. McCoy, __ F.3d __, 2020 WL 7050097, at *3 (4th Cir. Dec. 2, 2020).

       Under § 3582(c)(1)(A), the court may modify the defendant’s sentence if, “after

considering the factors set forth in section 3553(a) to the extent that they are applicable,” it finds

that

       (i) extraordinary and compelling reasons warrant such a reduction;

       (ii) the defendant is at least 70 years of age, has served at least 30 years in prison,
       pursuant to a sentence imposed under section 3559(c), for the offense or offenses
       for which the defendant is currently imprisoned, and a determination has been made
       by the Director of the Bureau of Prisons that the defendant is not a danger to the
       safety of any other person or the community, as provided under section 3142(g);

       and that such a reduction is consistent with applicable policy statements issued by
       the Sentencing Commission . . . .

       Accordingly, in order to be entitled to relief under 18 U.S.C. § 3582(c)(1)(A)(i), the

defendant must demonstrate that (1) “extraordinary and compelling reasons” warrant a reduction

of his sentence; (2) the factors set forth in 18 U.S.C. § 3553(a) countenance a reduction; and (3)

the sentence modification is “consistent” with applicable policy statements issued by the

Sentencing Commission.

       Notably, “Section 3582(c)(1)(A)(i) does not attempt to define the ‘extraordinary and

compelling reasons’ that might merit compassionate release.” McCoy, 2020 WL 7050097, at *3.

But, in U.S.S.G. § 1B1.13, titled “Reduction in Term of Imprisonment under 18 U.S.C.

§ 3582(c)(1)(A) Policy Statement,” the Sentencing Commission addressed the “extraordinary and

compelling reasons” that might warrant compassionate release. See McCoy, 2020 WL 7050097,

at *3. The Sentencing Commission acted pursuant to 28 U.S.C. § 994(t), as well as § 994(a)(2)(C).

McCoy, 2020 WL 7050097, at *3. But, as the McCoy Court observed, the policy statement was

issued in 2006 and was last updated in November 2018, prior to the enactment of the First Step

Act in December 2018. Id.

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       In particular, U.S.S.G. § 1B1.13 provides that, on motion by the Director of the BOP, the

court may reduce a sentence where warranted by extraordinary or compelling reasons (§

1B1.13(1)(A)); the defendant is at least 70 years old and has served at least 30 years in prison (§

1B1.13(1)(B)); the defendant is not a danger to the safety of any other person or to the community

(§ 1B1.13(2)); and the reduction is consistent with the policy statement. U.S.S.G. § 1B1.13(3).

       The Application Notes to U.S.S.G. § 1B1.13 are more expansive than § 1B1.13. They

indicate that compassionate release may be based on circumstances involving illness, declining

health, age, exceptional family circumstances, as well as “other reasons.” U.S.S.G. § 1B1.13

App. Notes 1(A)-(D).

       Application Note 1 to U.S.S.G. § 1B1.13 defines “Extraordinary and Compelling Reasons”

in part as follows:

         1. Extraordinary and Compelling Reasons.—Provided the defendant meets
         the requirements of subdivision (2), extraordinary and compelling reasons exist
         under any of the circumstances set forth below:

         (A) Medical Condition of the Defendant.—

              (i) The defendant is suffering from a terminal illness (i.e., a serious and
              advanced illness with an end of life trajectory). A specific prognosis of life
              expectancy (i.e., a probability of death within a specific time period) is not
              required. Examples include metastatic solid-tumor cancer, amyotrophic
              lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.

              (ii) The defendant is—

                 (I) suffering from a serious physical or medical condition,

                 (II) suffering from a serious functional or cognitive impairment, or

                 (III) experiencing deteriorating physical or mental health because of
                 the aging process,

            that substantially diminishes the ability of the defendant to provide self-care
            within the environment of a correctional facility and from which he or she is
            not expected to recover.

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       Application Note 1(B) provides that age is an extraordinary and compelling reason where

the defendant is at least 65 years of age, has serious physical or mental health issues, and has served

at least 10 years in prison or 75% of the sentence. Application Note 1(C) concerns Family

Circumstances. Application Note 1(D), titled “Other Reasons,” permits the court to reduce

a sentence where, “[a]s determined by the Director of the Bureau of Prisons, there exists in the

defendant’s case an extraordinary and compelling reason other than, or in combination with, the

reasons described in subdivisions (A) through (C).” U.S.S.G. § 1B1.13 App. Note 1(D). This is

the “so-called, ‘catch-all’ category.” McCoy, 2020 WL 7050097, at *3.

       The BOP regulation appears at Program Statement 5050.50, Compassionate

Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. §§ 2582 and 4205.

However, the Court may not rely on the Program Statement. Rather, the Court must consider the

Sentencing Commission’s policy statements. United States v. Taylor, 820 F. App’x 229, 229-30

(4th Cir. 2020) (per curiam) (citing 18 U.S.C. § 3582(c)(1)(A)); see also 28 U.S.C. § 994(t)

(directing Sentencing Commission to “describe what should be extraordinary and compelling

reasons for sentence reduction”). And, in resolving a compassionate release motion, a court must

also consider the factors in 18 U.S.C. § 3553(a). See Dillon, 560 U.S. at 826-27; see also United

States v. Trotman, ___ Fed. App’x ___, 2020 WL 6743609, at *2 (4th Cir. Nov. 17, 2020) (per

curiam) (recognizing that, when considering a motion to reduce sentence under 18 U.S.C. §

3582(c)(1)(A), the court must consider the sentencing factors under 18 U.S.C. § 3553(a), to the

extent applicable); United States v. Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020).

       As noted, “[w]hen deciding whether to reduce a defendant’s sentence under §

3582(c)(1)(A), a district court may grant a reduction only if it is ‘consistent with applicable policy

statements issued by the Sentencing Commission.’” United States v. Taylor, 820 F. App’x 229,


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230 (4th Cir. 2020) (per curiam) (citing 18 U.S.C. § 3582(c)(1)(A)); see also 28 U.S.C. § 994(t)

(directing Sentencing Commission to “describe what should be extraordinary and compelling

reasons for sentence reduction”). However, as indicated, the policy statement in § 1B1.13 of the

Guidelines was last updated in November 2018, before the enactment of the First Step Act. Thus,

it is only “directed at BOP requests for sentence reductions.” McCoy, 2020 WL 7050097, at *3

(citing U.S.S.G. § 1B1.13). In other words, “[b]y its plain terms…§ 1B1.13 does not apply to

defendant-filed motions under § 3582(c)(1)(A).” Id. at *7; see also United States v. Zullo, 976

F.3d 228, 230 (2nd Cir. 2020); United States v. Jones, __ F.3d __, 2020 WL 6817488, at *1–2

(6th Cir. Nov. 20, 2020); United States v. Gunn, __ F.3d __, 2020 WL 6813995, at *2 (7th Cir.

Nov. 20, 2020).

       Accordingly, “[a]s of now, there is no Sentencing Commission policy statement

‘applicable’ to [] defendants’ compassionate-release motions, which means that district courts

need not conform, under § 3582(c)(1)(A)’s consistency requirement, to § 1B1.13 in determining

whether there exist ‘extraordinary and compelling reasons’ for a sentence reduction.” McCoy,

2020 WL 7050097, at *8.          Therefore, district courts are “‘empowered…to consider any

extraordinary and compelling reason for release that a defendant might raise.’” McCoy, 2020 WL

7050097, at *9 (quoting Zullo, 976 F.3d at 230).

       Nevertheless, as the movant, the defendant bears the burden of establishing that he is

entitled to a sentence reduction under 18 U.S.C. § 3582. See, e.g., United States v. Hamilton, 715

F.3d 328, 337 (11th Cir. 2013); United States v. Edwards, NKM-17-00003, 2020 WL 1650406,

at *3 (W.D. Va. Apr. 2, 2020). If the defendant can show an extraordinary and compelling reason

that renders him eligible for a sentence reduction, the Court must then consider the factors under

18 U.S.C. § 3553(a) to determine whether, in its discretion, a reduction of sentence is appropriate.

Dillon, 560 U.S. at 827. But, compassionate release is a “rare” remedy. United States v.

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Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020); United States v. Mangarella, FDW-06-151,

2020 WL 1291835, at *2-3 (W.D. N.C. Mar. 16, 2020); White v. United States, 378 F. Supp. 3d

784, 787 (W.D. Mo. 2019).

                                          III.   COVID-19 4

       Defendant filed his Motion while the nation is “in the grip of a public health crisis more

severe than any seen for a hundred years.” Antietam Battlefield KOA v. Hogan, CCB-20-1130,

461 F. Supp. 3d 214, 223 (D. Md. 2020). That crisis is COVID-19. 5             The World Health

Organization declared COVID-19 a global pandemic on March 11, 2020. See Seth v. McDonough,

PX-20-1028, 2020 WL 2571168, at *1 (D. Md. May 21, 2020).

       The judges of this Court “have written extensively about the pandemic.” United States v.

Williams, PWG-19-134, 2020 WL 3073320, at *1 (D. Md. June 10, 2020) (collecting cases).

Therefore, it is not necessary to recount in detail the “unprecedented nature and impact” of the

pandemic. Id.

       That said, the Court must underscore that the virus is highly contagious. See Coronavirus

Disease 2019 (COVID-19), How COVID-19 Spreads, CTRS. FOR DISEASE CONTROL &

PREVENTION (Apr. 2, 2020), https://bit.ly/2XoiDDh. Moreover, although many people who are

stricken with the virus experience only mild or moderate symptoms, the virus can cause severe

medical problems as well as death, especially for those in “high-risk categories . . . .” Antietam



       4
           The Court may take judicial notice of matters of public record. See Fed. R. Evid. 201.
       5
         Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-CoV-2) is the cause of
coronavirus disease 2019, commonly called COVID-19. See Naming the Coronavirus Disease
and the Virus that Causes It, WORLD HEALTH ORG., https://bit.ly/2UMC6uW (last accessed June
15, 2020).




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Battlefield KOA, 2020 WL 2556496, at *1 (citation omitted). As of December 23, 2020, COVID-

19 has infected more than 18.2 million Americans and caused over 322,000 deaths in this country.

See COVID-19 Dashboard, THE JOHNS HOPKINS UNIV., https://bit.ly/2WD4XU9 (last accessed

Dec. 23, 2020).

       The COVID-19 pandemic is the worst public health crisis that the world has experienced

since 1918. See United States v. Hernandez, 451 F. Supp. 3d 301, 305 (S.D.N.Y. 2020) (“The

COVID-19 pandemic . . . . presents a clear and present danger to free society for reasons that need

no elaboration.”). The pandemic “has produced unparalleled and exceptional circumstances

affecting every aspect of life as we have known it.” Cameron v. Bouchard, LVP-20-10949, 2020

WL 2569868, at *1 (E.D. Mich. May 21, 2020), stayed, 818 Fed. App’x 393, (6th Cir. 2020).

Indeed, for a significant period of time, life as we have known it came to a halt. Although many

businesses and schools reopened for a period of time, many are again subject to closure or

substantial restrictions, due to the virulent resurgence of the virus in recent weeks.

       Unfortunately, there is currently no cure or proven treatment that is available. But, a

vaccine has just become available on a limited basis, primarily for health care workers and the

elderly. It is anticipated that it will take months before it is widely available.

       Of relevance here, the Centers for Disease Control and Prevention (“CDC”) has identified

certain risk factors that increase the chance of severe illness. Those risk factors initially included

age (over 65); lung disease; asthma; chronic kidney disease; serious heart disease; obesity;

diabetes; liver disease; and a compromised immune system. See Coronavirus Disease 2019

(COVID-19), People Who Are at Risk for Severe Illness, CTRS. FOR DISEASE CONTROL &

PREVENTION (May 14, 2020), https://bit.ly/2WBcB16. And, the CDC cautions that the “more




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underlying medical conditions someone has, the greater their risk is for severe illness from

COVID-19.” Id.

       On June 25, 2020 and July 17, 2020, the CDC revised its guidance as to medical conditions

that pose a greater risk of severe illness due to COVID-19. Then, on November 2, 2020, to reflect

the most recently available data, the CDC again revised its guidance. See People of Any Age with

Underlying Medical Conditions, CTRS. FOR DISEASE CONTROL & PREVENTION (Nov. 2, 2020),

https://bit.ly/38S4NfY. According to the CDC, the factors that increase the risk include cancer;

chronic kidney disease; COPD; being immunocompromised; obesity, where the body mass index

(“BMI”) is 30 or higher; serious heart conditions, including heart failure and coronary artery

disease; sickle cell disease; smoking; pregnancy; and Type 2 diabetes. Id. The CDC has also

indicated that the risk for severe illness from COVID-19 increases with age, with older adults at

highest risk. See Older Adults At Greater Risk of Requiring Hospitalization or Dying if Diagnosed

with   COVID-19,    CTRS. FOR DISEASE CONTROL & PREVENTION (Nov. 27, 2020),

https://bit.ly/3g1USZ1.

       The CDC has also created a second category for conditions that “might” present a risk for

complications from COVID-19. The factors that might increase the risk include asthma,

cerebrovascular disease, hypertension, liver disease, cystic fibrosis, neurologic conditions, a

compromised immune system, overweight (where the BMI is between 25 and 30), pulmonary

fibrosis, thalassemia (a type of blood disorder), and Type 1 diabetes. See People of Any Age with

Underlying Medical Conditions, CTRS. FOR DISEASE CONTROL & PREVENTION (Nov. 2, 2020),

https://bit.ly/38S4NfY.

       Thus far, the only way to slow the spread of the virus is to practice “social distancing.” See

Coronavirus Disease 2019 (COVID-19), How to Protect Yourself & Others, CTRS. FOR DISEASE



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CONTROL & PREVENTION, https://bit.ly/3dPA8Ba (last accessed May 21, 2020). Social distancing

is particularly difficult in the penal setting, however. Seth, 2020 WL 2571168, at *2. Prisoners

have little ability to isolate themselves from the threat posed by the coronavirus. Id.; see Cameron,

2020 WL 2569868, at *1; see also United States v. Mel, TDC-18-0571, 2020 WL 2041674, at *3

(D. Md. Apr. 28, 2020) (“In light of the shared facilities, the difficulty of social distancing, and

challenges relating to maintaining sanitation, the risk of infection and the spread of infection within

prisons and detention facilities is particularly high.”). Prisoners are not readily able to secure

safety products on their own to protect themselves, such as masks and hand sanitizers, nor are they

necessarily able to separate themselves from others. Consequently, correctional facilities are

especially vulnerable to viral outbreaks and ill-suited to stem their spread. See Coreas v. Bounds,

TDC-20-0780, 2020 WL 1663133, at *2 (D. Md. Apr. 3, 2020) (“Prisons, jails, and detention

centers are especially vulnerable to outbreaks of COVID-19.”); see also Letter of 3/25/20 to

Governor Hogan from approximately 15 members of Johns Hopkins faculty at the Bloomberg

School of Public Health, School of Nursing, and School of Medicine (explaining that the “close

quarters of jails and prisons, the inability to employ effective social distancing measures, and the

many high-contact surfaces within facilities, make transmission of COVID-19 more likely”);

accord Brown v. Plata, 563 U.S. 493, 519-20 (2011) (referencing a medical expert’s description

of the overcrowded California prison system as “‘breeding grounds for disease’”) (citation

omitted).

       The Department of Justice (“DOJ”) has recognized the unique risks posed to inmates and

employees of the Bureau of Prisons (“BOP”) from COVID-19. The DOJ has adopted the position

that an inmate who presents with one of the risk factors identified by the CDC should be considered




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as having an “extraordinary and compelling reason” warranting a sentence reduction. See U.S.S.G.

§ 1B1.13 cmt. n.1(A)(ii)(I).

       Attorney General William Barr issued a memorandum to Michael Carvajal, Director of the

BOP, on March 26, 2020, instructing him to prioritize the use of home confinement for inmates at

risk of complications from COVID-19. See Hallinan v. Scarantino, 20-HC-2088-FL, 2020 WL

3105094, at *8 (E.D. N.C. June 11, 2020). Then, on March 27, 2020, Congress passed the

Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”), Pub. L. No. 116-136,

134 Stat. 281. In relevant part, the CARES Act authorized the Director of BOP to extend the

permissible length of home confinement, subject to a finding of an emergency by the Attorney

General. See Pub. L. No. 116-136, § 12003(b)(2). On April 3, 2020, the Attorney General issued

another memorandum to Carvajal, finding “the requisite emergency . . . .” Hallinan, 2020 WL

3105094, at *9. Notably, the April 3 memorandum “had the effect of expanding the [BOP’s]

authority to grant home confinement to any inmate . . . .” Id.

       On March 23, 2020, the CDC issued guidance for the operation of penal institutions to help

prevent the spread of the virus. Seth, 2020 WL 2571168, at *2. Notably, the BOP has implemented

substantial measures to mitigate the risks to prisoners, to protect inmates from COVID-19, and to

treat those who are infected. Indeed, as the Third Circuit recognized in United States v. Raia, 954

F.3d 594, 597 (3rd Cir. 2020), the BOP has made “extensive and professional efforts to curtail the

virus’s spread.”

       As with the country as a whole, however, the virus persists in penal institutions. 6 As of

December 28, 2020, the BOP had 124,126 federal inmates and 36,000 staff. And, as of the same



       6
         The New York Times reported in June 2020 that cases of COVID-19 “have soared in
recent weeks” at jails and prisons across the country. Timothy Williams et al., Coronavirus cases
Rise Sharply in Prisons Even as They Plateau Nationwide, N.Y. TIMES (June 18, 2020),
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date, the BOP reported that 6,537 inmates and 1,616 BOP staff currently tested positive for

COVID-19; 29,566 inmates and 2,746 staff have recovered from the virus; and 172 inmates and

two staff member have died from the virus. Moreover, the BOP has completed 93,308 COVID-

19 tests. See https://www.bop.gov/coronavirus/ (last accessed Dec. 28, 2020). See COVID-19,

FED. BUREAU OF PRISONS, https://bit.ly/2XeiYH1.

       With respect to FCI Memphis, to which the defendant was recently transferred, as of

December 28, 2020, the BOP reported that 54 inmates and 16 staff have tested positive for COVID-

19 and 274 inmates and 48 staff have recovered at the facility. One inmate has died from the virus.

And, the facility has completed 903 tests. See https://www.bop.gov/coronavirus/ (last accessed

Dec. 28, 2020).

                                         IV.    DISCUSSION

       Harris moves for compassionate release on two grounds. First, he asserts that his health

conditions render him particularly vulnerable to COVID-19. ECF 290 at 9-11. In this regard,

defendant suffers from multiple medical conditions identified by the CDC as risk factors, including

kidney disease, hypertension, and prediabetes. Id. at 10; ECF 292 (Medical Records). He is also



https://nyti.ms/37JZgH2. More recently, on October 29, 2020, the New York Times reported that,
“[i]n American jails and prisons, more than 252,000 people have been infected and at least 1,450
inmates and correctional officers have died” from COVID-19. See Cases in Jails and Prisons,
N.Y. TIMES (Oct. 29, 2020), https://www.nytimes.com/interactive/2020/us/coronavirus-us-
cases.html?name=styln-coronavisur&region=TOP_BANNER&block=storyline_menu_
recirc&action=click&pgtype=LegacyCollection&impression_id=78b44851-1885-11eb-baa7-
3f68d7b814c8&variant=1_Show.

        On November 21, 2020, the New York Times reported that “U.S. correctional facilities are
experiencing record spikes in coronavirus infections this fall. During the week of Nov. 17, there
were 13,657 new coronavirus infections reported across the state and federal prison systems.”
America Is Letting the Coronavirus Rage Through Prisons, N.Y. TIMES (Nov. 21, 2020),
https://www.nytimes.com/2020/11/21/opinion/sunday/coronavirus-prisons-
jails.html?referringSource=articleShare.

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somewhat overweight, with a BMI of 29. ECF 292 at 2. Alternatively, Harris contends that the

“enormous disparity” between the sentence he received in 2004 and the sentence he would receive

today is an extraordinary and compelling reason for relief. ECF 290 at 12-13. Moreover, Harris

argues that the sentencing factors under 18 U.S.C. § 3553(a) counsel in favor of reducing his

sentence to time served or, in the alternative, to a substantial reduction of sentence. Id. at 18-26.

       The government opposes defendant’s Motion at each step of the analysis. It argues that

Harris’s medical conditions do not render him eligible for release. ECF 297 at 8-13. And, in any

event, the government maintains that Harris remains a danger to the community and the § 3553(a)

factors militate against reducing his sentence. Id. at 14-18.

                            A. EXTRAORDINARY AND COMPELLING REASONS

       Harris has been diagnosed with kidney disease. He also has hypertension and prediabetes,

and he is overweight. And, according to his attorney, the defendant recently tested positive for

COVID-19. ECF 303. The Court is unaware of defendant’s condition in regard to the severity of

the virus. But, his medical conditions, standing alone, and certainly when combined are the type

that have been linked to an increased risk of a more severe illness from COVID-19. See People of

Any Age with Underlying Medical Conditions, CTRS. FOR DISEASE CONTROL & PREVENTION (Nov.

2, 2020), https://bit.ly/38S4NfY.

       To be sure, the coronavirus is not “tantamount to a ‘get out of jail free’ card.” United States

v. Williams, PWG-13-544, 2020 WL 1434130, at *3 (D. Md. Mar. 24, 2020) (Day, M.J.). But,

numerous courts have found that, in light of the COVID-19 pandemic, a serious chronic medical

condition, such as hypertension or kidney disease, qualifies as a compelling reason for

compassionate release.     See, e.g., United States v. Council, No. 4:18-CR-00219, 2020 WL

5215142, at *2 (M.D. Pa. Sept. 1, 2020) (granting compassionate release to defendant with


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hypertension and stage two chronic kidney disease); United States v. White, No. CCB-09-0369,

2020 WL 3960830, at *3 (D. Md. July 10, 2020) (obesity and stage two chronic kidney disease

qualifies as extraordinary and compelling reason); United States v. Salvagno, No. 5:02-cr-00051-

LEK, 2020 WL 3410601 (N.D.N.Y June 22, 2020) (granting compassionate release to inmate

whose sole medical condition is hypertension); United States v. Gutman, RDB-19-0069, 2020 WL

24674345, at *2 (D. Md. May 13, 2020) (finding defendant’s age of 56 years, multiple sclerosis,

and hypertension satisfied extraordinary and compelling reason); United States v. Zukerman, 451

F. Supp. 3d 329, 336 (S.D.N.Y. 2020) (defendant’s diabetes, hypertension, obesity, and age

satisfied extraordinary and compelling reason); United States v. Pena, No. 15-CR-551 (AJN), 2020

WL 2301199, at *4 (S.D.N.Y. May 8, 2020) (“This Court has repeatedly recognized that COVID-

19 presents a heightened risk for individuals with hypertension[.]”); United States v. Coles, No.

00-cr-20051, 2020 WL 1976296, at *7 (C.D. Ill. Apr. 24, 2020) (granting compassionate release

to defendant with hypertension, prediabetes, prostate issues, bladder issues, and a dental infection).

       As indicated, defendant tested positive for COVID-19 in December 2020. ECF 303. Even

if he recovers from the virus, it remains uncertain whether he can contract the illness again or

whether he will experience ongoing complications from the virus, due to his underlying health

conditions or because much is unknown about the long-term effects of the virus.

       Several judges in this District have granted compassionate release to individuals who have

contracted, and recovered from, COVID-19, if they also suffered from other underlying medical

conditions. See, e.g., United States v. Braxton, Crim No. JKB-09-478, 2020 WL 4748536 (D. Md.

Aug. 17, 2020) (defendant suffers from multiple medical conditions); United States v. Fletcher,

Crim. No. TDC-05-0179-01, 2020 WL 3972142 (D. Md. July 13, 2020) (defendant has Type 2

diabetes, chronic kidney disease, and hypertension); United States v. Heyward, Crim. No. PWG-



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17-527, 2020 WL 3547018 (D. Md. June 30, 2020) (defendant was 65 years old and suffers from

a “myriad [of] health conditions,” in addition to COVID-19, including hypertension, chronic viral

hepatitis C, peripheral vascular disease); United States v. Williams, Crim. No. PWG-19-134, 2020

WL 3073320 (D. Md. June 10, 2020) (defendant is obese). Accordingly, I am satisfied that Harris

satisfies the “extraordinary and compelling” prong of the § 3582 analysis.

       Based on this finding, I need not consider whether the disparity, if any, between the

sentence Harris received in 2004 and the one he would likely receive today constitutes, on its own,

an “extraordinary and compelling reason” for compassionate release. But, as discussed below, the

Court may consider changes in the sentencing landscape with respect to its analysis under 18

U.S.C. § 3553(a).

                                   B. SECTIONS 3142(g) AND 3553(a)

       Relief is appropriate under 18 U.S.C. § 3582(c)(1)(A) only if the defendant “is not a danger

to the safety of any other person or to the community, as provided in 18 U.S.C. § 3142(g).”

U.S.S.G. § 1B1.13(2). To determine whether a defendant is a danger to the community, the Court

must consider the factors under 18 U.S.C. § 3142(g), including the nature and circumstances of

the offense, the history and characteristics of the defendant, and the danger that release would pose

to any person or the community.

       The Court must also consider the factors set forth in 18 U.S.C. § 3553(a), as required by

18 U.S.C. § 3582(c)(1)(A). These include: (1) the nature of the offense and the defendant’s

characteristics; (2) the need for the sentence to reflect the seriousness of the offense, promote

respect for the law, and provide just punishment; (3) the kinds of sentences available and the

applicable Guidelines range; (4) any pertinent Commission policy statements; (5) the need to

avoid unwarranted sentence disparities; and (6) the need to provide restitution to victims.


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       The government urges the Court to find that the defendant is still a danger to the

community, citing the seriousness of this offense and his criminal history. ECF 297 at 19-20.

According to the government, defendant is “a very dangerous man, with a history of non-compliant

and anti-social behavior.” Id. at 20. Further, the government contends that the factors under §

3553(a) militate in favor of denial of defendant’s Motion. Id.at 18-21.

       Defendant acknowledges the seriousness of his underlying crime spree. ECF 290 at 25.

But, he contends that a reduced sentence would reflect that his offenses were committed when he

“was [a] young man struggling to overcome an extended history of severe trauma and neglect.” Id.

at 19. And, he maintains that a reduction is warranted because of the “seismic changes in the

sentencing landscape” since 2004. ECF 299 at 7. In particular, Harris was sentenced when the

Guidelines were mandatory and when Harris’s two firearm convictions under § 924(c) mandated

a minimum term of imprisonment of 32 years. Further, defendant maintains that he should not

serve “a sentence 25 years longer than what the government deemed an appropriate punishment

prior to four days of trial.” ECF 290 at 25.

       As part of the § 3553(a) analysis, many judges in this District have considered a change in

the penalties that a defendant would face if prosecuted today. See, e.g., United States v. Chandler,

GLR-05-0181, ECF 119 at 1-2 (D. Md. May 14, 2020); United States v. Decator, 452 F. Supp. 3d

320 (D. Md. 2020), aff’d, McCoy, 2020 WL 7050097; United States v. Laurey, JKB-06-0586, ECF

81 at 1, 3 (D. Md. Feb. 19, 2020); United States v. Wesley, JKB-10-0118, ECF 73 at 1 (D. Md.

Feb. 18, 2020); United States v. Smith, DKC-98-0252, ECF 92 at 4 (D. Md. Feb. 14, 2020); United

States v. Watts, PJM-06-036, ECF 114 at 7 (D. Md. Feb. 6, 2020); United States v. Thompson,

CCB-09-0128, ECF 123 at 2 (D. Md. Jan. 16, 2020). As Judge Bennett recently explained:

“[C]hanges in the sentencing law landscape are relevant to the Court’s analysis of whether the



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Court’s sentence appropriately addresses ‘the need for a sentence to provide just punishment,

promote respect for the law, reflect the seriousness of the offense, deter crime, and protect the

public.’” United States v. Johnson, No. RDB-07-0153, ECF No. 183 at 10-11 (D. Md. Oct. 14,

2020); see also McCoy, 2020 WL 7050097, at *11.

       As to Counts Three and Five, the two firearm brandishing offenses under 18 U.S.C. §

924(c), Harris was sentenced to a total mandatory, consecutive term of 32 years of imprisonment.

At the time, a defendant could be sentenced for multiple § 924(c) charges at the same time, even

if the convictions were not yet final, resulting in a seven-year consecutive sentence for the first

brandishing offense, and a mandatory minimum penalty of 25 years of imprisonment, consecutive,

for each subsequent § 924(c) offense. See United States v. Jordan, 952 F.3d 160, 165 (4th Cir.

2020). Therefore, as to Harris’s two convictions under 18 U.S.C. § 924(c), Judge Nickerson was

statutorily required to impose seven and 25 year sentences, respectively, consecutive to the 18-

year sentence he imposed for the bank robberies, for a total sentence of 50 years.

       Section 403(a) of the First Step Act of 2018 (“FSA”) amended the language of 18 U.S.C.

§ 924(c)(1)(C) by striking a “second or subsequent conviction under this subsection” and inserting

“violation of this subsection that occurs after a prior conviction under this subsection has become

final.” Therefore, the amendment has effectively eliminated the procedure of “stacking” multiple

§ 924(c) convictions for the purpose of enhancing the penalties associated with “second or

subsequent” § 924(c) convictions within the same indictment. Id. Thus, the FSA amended §

924(c), so that it “no longer applies to multiple § 924(c) convictions obtained in a single

prosecution.” Jordan, 952 F.3d at 171. However, this provision is not retroactive. See FSA,

Section 403(a), (b); see also Jordan, 952 F.3d at 172.




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       Notably, the “fact that Congress chose not to make § 403 of the First Step Act categorically

retroactive does not mean that courts may not consider that legislative change in conducting their

individualized reviews of motions for compassionate release.” McCoy, 2020 WL 7050097, at *11;

see also United States v. Haynes, 456 F. Supp. 3d 496, 514-16 (E.D.N.Y. 2020); United States v.

Maumau, No. 2:08-cr-00758-TC-11, 2020 WL 806121, at *7 (D. Utah Feb. 18, 2020). In 2004,

Judge Nickerson had to impose a total of 32 years’ imprisonment for the two § 924(c) brandishing

offenses. Today, the Court would be required to impose consecutive terms of seven years each.

       The gravity of Harris’s crimes cannot be minimized. Harris committed eleven armed bank

robberies between January 2002 and August 2002, involving numerous victims, and he stole over

$169,000. The lives of the individual victims were surely impacted by the defendant’s heinous

conduct. The weight of the evidence against Harris was also strong. As noted, during sentencing,

Judge Nickerson indicated that the plea agreement was “very favorable” to Mr. Harris, in light of

“the overwhelming evidence against him and the even longer sentence that would be imposed had

he been convicted at trial.” ECF 156 at 2 (citing Transcript of January 12, 2004 at 19).

       Yet, on the very same facts that led to the 50-year sentence, the government had previously

offered Harris a plea agreement calling for a total of 25 years’ incarceration. See ECF 297-4, ¶ 4.

The defendant accepted the plea. Then, for reasons not fully known to this Court, the defendant

changed his mind. Judge Legg allowed the defendant to withdraw his guilty plea and he proceeded

to a jury trial. After four days of trial, the defendant again wanted to plead guilty. However, at that

point the government offered a 50-year plea deal—a dramatic increase from its earlier plea offer

of 25 years on the same facts.

       To be sure, with the original plea agreement, the government undoubtedly considered that,

by pleading guilty, Harris spared the government, the Court, and the victims of the ordeal and



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challenges of the trial process. The victims did not have to recount what they experienced. The

government understandably rewards defendants for their acceptance of responsibility and their

willingness to avoid the burdens of a trial. Defendant then reneged on his plea agreement and put

the government, the Court, jurors, and witnesses through most of a trial. On these facts, it was

entirely reasonable for the government to decide that the 25-year deal was no longer an option.

The government’s unwillingness to renew the original plea offer was not punishment of the

defendant for his desire to exercise his right to go to trial. That said, the second plea offer, which

doubled the original plea offer, would seem to constitute punishment of the defendant for his

decision.

       Further, defendant argues: “As a result of the collective changes in applicable law, Mr.

Harris’s 50-year sentence is so out of step with current sentencing practices that it more than

doubles the average sentence federal courts impose for murder.” ECF 290 at 23. Indeed, Harris’s

sentence of 50 years is significantly longer than at least some federal sentences imposed more

recently for multiple robbery offenses. Statistics compiled by the United States Sentencing

Commission, for example, show that for fiscal year 2019, the average national sentence imposed

for the crime of robbery was 109 months (9 years, 1 month); for murder, 255 months (21 years, 4

months); and for kidnapping, 171 months (14 years, 3 months). Table 15, “Sentence Imposed by

Type     of    Crime,”     https://www.ussc.gov/2019-Annual-Report-and-Sourcebook             (“2019

Sourcebook”); see also United States v. Bryant, 95-202-CCB-3, 2020 WL 2085471, at *5 n.8 (D.

Md. Apr. 30, 2020) (“According to statistics released by the United States Sentencing Commission

for fiscal year 2018, the national average sentence for murder was 291 months, and the Fourth

Circuit average was 327 months.”) (citing United States v. Redd, 444 F. Supp. 3d 717, 728 (E.D.

Va. 2020)). This case involved multiple robberies. Harris received a sentence of 600 months’



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incarceration, i.e., 50 years. That sentence seems out of line with other sentences for serious

offenses.

       As reviewed earlier, Harris had garnered an extensive criminal history over a short time

frame. See ECF 297-4, ¶¶ 122-126. However, all of Harris’s previous convictions occurred

between 1992 and 1995, when the defendant was between the ages of 17 and 20. See McCoy, 2020

WL 7050097, at *11 (noting that courts often consider a defendant’s relative youth at the time of

their offense as relevant in analyzing compassionate release motions). And, none of the prior

offenses involved violence. ECF 297-4, ¶¶ 122-26.

       Curiously, the parties do not address Harris’s Career Offender status. But, it seems clear to

me that Harris would not qualify today as a Career Offender. This is a matter that I may consider.

       After Harris was sentenced in this case, the Supreme Court decided United States v.

Booker, 543 U.S. 221 (2005), in which the Guidelines were deemed advisory. And, “the career

offender provision is an advisory guideline promulgated by the United States Sentencing

Commission.[]” United States v. Furlow, 928 F.3d 311, 314 (4th Cir. 2019). In turn, the

Sentencing Commission is an agency within the judiciary that “Congress has tasked with

promulgating ‘guidelines . . . for use of a sentencing court in determining the sentence to be

imposed in a criminal case.’” Id. at n.1 (quoting 28 U.S.C. § 994(a)(1)).

       Unlike the mandatory sentencing provisions applicable to an Armed Career Criminal, 18

U.S.C. § 924(e), “the career offender provision creates no statutory penalty.” Furlow, 928 F.3d at

314. However, a defendant who qualifies for an enhancement as a career offender “may be subject

to an increased guidelines offense level and criminal history category, which would result in an

increased Guidelines range.” Id. (citing U.S.S.G. § 4B1.1(b)).




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        Although the Guidelines are now merely advisory, not mandatory, see, e.g., Booker, 543

U.S. at 260-62; Rita v. United States, 551 U.S. 338, 361-62 (2007), it is clear that the sentencing

Guidelines are the “foundation of federal sentencing decisions.” United States v. Hughes, ___

U.S. ___, 138 S. Ct. 1765, 1775 (2018). Indeed, the Guidelines range generally serves as the

“starting point” in the effort of a judge to fashion a reasonable sentence. Freeman v. United States,

564 U.S. 522, 529 (2011). Thus, the Supreme Court has described the sentencing Guidelines as

“the lodestone of sentencing.” Peugh v. United States, 569 U.S. 530, 544 (2013).

        Because of the “central role in sentencing” that attaches to the sentencing guidelines, an

“error related to the guidelines can be particularly serious.” Molina- Martinez v. United States,

___ U.S. ___, 136 S. Ct. 1338, 1345 (2016); see United States v. Feldman, 793 Fed. App’x 170,

173-74 (4th Cir. 2019); United States v. Winbush, 922 F.3d 227, 231 (4th Cir. 2019); United States

v. Carthorne, 878 F.3d 458, 469 (4th Cir. 2017).        Nevertheless, “a mistaken career offender

designation is not cognizable on collateral review.” United States v. Newbold, 791 F.3d 455, 459

(4th Cir. 2015) (citing United States v. Foote, 784 F.3d 931, 932-33 (4th Cir. 2015)), cert. denied,

135 S. Ct. 2850 (2015)). And, in Beckles v. United States, __ U.S. __, 137 S. Ct. 886 (2017), the

Court determined that the advisory sentencing Guidelines are not subject to challenges under

Johnson v. United States, 574 U.S. 891 (2015). As the Beckles Court stated, “the advisory

Guidelines do not fix the permissible range of sentences. To the contrary, they merely guide the

exercise of a court’s discretion in choosing an appropriate sentence within the statutory range.”

Id. at 892.

        But, significantly, this is not a post-conviction case. And, in my view, an error in the

designation of Career Offender status would be relevant under § 3553(a). See, e.g., United States

v. Royster, __ F. Supp. 3d __, 2020 WL 7392801, at *3-4 (M.D.N.C. Dec. 10, 2020) (considering



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that defendant would no longer qualify as career offender under §4B1.1 in § 3553(a) evaluation);

United States v. Hickman, CCB-07-261, 2020 WL 6393391, *4 (D. Md. Nov. 2, 2020) (same);

United States v. Lee, DKC-12-0493, 2020 WL 4053352, *4 (D. Md. Jul. 20, 2020) (considering

the “changed landscape when considering the goals of sentencing”).

       As I see it, Harris was erroneously deemed a Career Offender. A person qualifies as a

Career Offender if the instant offense of conviction is a “controlled substance offense” or a “crime

of violence,” as defined in U.S.S.G. § 4B1.2(a) and (b), and the offense was committed after the

age of 18. The defendant must also have two prior qualifying felony convictions, for either a crime

of violence or a controlled substance offense. U.S.S.G. § 4B1.1(a); see also § 4B1.2(c).

       Under U.S.S.G. § 4B1.2(a), the term “crime of violence” means:

       [A]ny offense under federal or State law, punishable by imprisonment for a term
       exceeding one year, that –

         (1) has as an element the use, attempted use, or threatened use of physical force
             against the person of another, or

         (2) is murder, voluntary manslaughter, kidnapping, aggravated assault, a forcible
             sex offense, robbery, arson, extortion, or the use or unlawful possession of a
             firearm described in 26 U.S.C. § 5845(a) or explosive material as defined in
             18 U.S.C. § 841(c).

       Harris was deemed to be a Career Offender, pursuant to U.S.S.G. § 4B1.1, based on two

convictions for burglary and one conviction for daytime housebreaking. ECF 297-4, ¶ 131. These

offenses are not proper predicates. Notably, in 2016, the Sentencing Commission amended the

Guidelines by deleting “burglary of a dwelling” from the list of enumerated offenses. See U.S.S.G.

§ 4B1.2(a), Amendment 798. Today, the predicate convictions would not be considered crimes of

violence under U.S.S.G. § 4B1.2(a). See United States v. Al-Muwwakkil, __ F.3d __, 2020 WL

7635764, at *9-11 (4th Cir. Dec. 23, 2020) (finding defendant’s burglary conviction does not

qualify as a violent felony under the Armed Career Criminal Act); see also United States v.

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Runyon, __ F.3d __, 2020 WL 7635761 (4th Cir. Dec. 23, 2020) (analyzing crimes of violence

under 18 U.S.C. § 924(c)(3)).

       Harris’s conduct for the past 18 years, while in BOP custody, is an important indicator of

whether he remains a danger to the community. See 18 U.S.C. § 3582(c)(1)(A)(ii). Courts place

significant weight on a defendant’s post-sentencing conduct because it “provides the most up-to-

date picture of [his] ‘history and characteristics.’” See Pepper v. United States, 562 U.S. 476, 492

(2011) (citing 18 U.S.C. § 3553(a)(1)); see also United States v. Scott, CCB-95-202, 2020 WL

2467425, at *4 (D. Md. May 13, 2020).

       Harris recognizes that he has not been a “model prisoner.” ECF 290-9 (Letter from Harris

to the Court). But, Harris reports that he has not incurred any disciplinary infractions in the last

two years, and his record over the past 18 years is devoid of “any allegations of violence or

fighting.” ECF 290 at 20. In addition, Harris has recently completed a “Criminal Thinking” course

and an anger management course. Id. at 20-21; ECF 290-10 (Course Certificates). And, he works

in the prison barbershop. ECF 290 at 20-21. This reflects that Harris is in the process of maturing.

       To Harris’s credit, in a recent letter to the Court, he appears to have accepted responsibility

for his criminal conduct. See ECF 290-9. Harris stated, in part: “Those mistake [sic] I myself made

all those years ago, lord knows I honestly regret them and I apologize to all the people I hurt,

especially the victims.” Id. Harris’s siblings, Elizabeth Womack and Leo Womack, also wrote

letters to the Court, confirming that Harris has expressed deep remorse for his conduct. See ECF

290-11; ECF 290-12. His siblings also explained that they will be ready to support Harris when he

is released. Id.; see also ECF 290 at 21.

       Defendant also describes the way in which his history of severe trauma and neglect

influenced his criminal conduct. ECF 290 at 19-21. According to Harris’s aunt, Ivie Dawkins,



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Harris’s parents were struggling with addiction during Harris’s childhood and, as a result, were

unable to care for him. ECF 283 (Letter from Dawkins to the Court). Harris’s parents apparently

taught Harris to steal food so that he and his younger brother would not go hungry. Id. at 1-2. In

addition, Dawkins notes that Harris’s father was abusive and would “beat” him. Id. at 2.

       Given the circumstances of this case, including the serious nature of Harris’s numerous

offenses, the strength of the evidence against him, and his prior record, I conclude that Harris has

not met the requirements for immediate compassionate release. However, considering Harris’s

health and personal history, the disparity between the sentence imposed before and after trial, and

the critical changes in the sentencing landscape that have occurred since 2004, I readily conclude

that the 50-year sentenced is far “greater than necessary” to comply with the purposes of

incarceration. 18 U.S.C. § 3553(a).

       The First Step Act “does not constrain the Court to decide between immediate release or

no reduction at all, and instead leaves the Court discretion in its evaluation of the appropriate

sentence once it finds ‘extraordinary and compelling reasons.’” Braxton, 2020 WL 4748536, at

*5. Thus, the Court’s decision need not be confined either to immediate release or leaving the

existing sentence intact. The statutory text of the First Step Act allows courts to “reduce the term

of imprisonment,” upon a finding of “extraordinary and compelling reasons.” 18 U.S.C. §

3582(c)(1)(A).

       Numerous district courts in both this Circuit and others have found that a court “need not

choose between immediate, unconditional release or no relief at all” and have accordingly granted

sentence reductions that did not result in immediate release. See, e.g., United States v. Johnson,

No. RDB-07-0153, ECF No. 183 (D. Md. Oct. 14, 2020) (reducing sentence from 360 months to

300 months); Braxton, 2020 WL 4748536, at *5 (reducing sentence from 246 months to 168



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months); United States v. Marks, Crim No. 03-6033L, 2020 WL 1908911, at *17 (W.D.N.Y. Apr.

20, 2020) (reducing sentence from 40 years to 20 years); United States v. Arey, Crim. No. 5:05-

00029, 2020 WL 2464796 (W.D. Va. May 13, 2020) (reducing sentence but denying immediate

release); United States v. Day, __ F. Supp. 3d __, 2020 WL 4251803, at *12 (E.D. Va. July 23,

2020) (same); see also United States v. Zullo, 976 F.3d 228, 327 (2d Cir. 2020) (“It bears

remembering that compassionate release is a misnomer. 18 U.S.C. § 3582(c)(1)(A) in fact speaks

of sentence reductions. A district court could, for instance, reduce but not eliminate a defendant’s

prison sentence…”).

                                         V.      CONCLUSION

       This case involves circumstances in which the defendant withdrew from his original plea

agreement calling for a sentence of 25 years. Thereafter, he received a sentence that is double in

length. And, the sentencing landscape has changed significantly since that time. From the Court’s

experience in sentencing defendants who have committed multiple armed robberies, a sentence of

50 years is out of step. For the reasons set forth above, a total sentence of 30 years is “sufficient,

but not greater than necessary” to comply with the purposes of incarceration. 18 U.S.C. § 3553(a).

Therefore, the Court will exercise its discretionary authority to reduce Harris’s sentence, pursuant

to 18 U.S.C. § 3582(c)(1)(A).

       I shall grant the Motion (ECF 290), in part, pursuant to 18 U.S.C. § 3582(c)(1)(A). I shall

reduce Harris’s sentences for the armed bank robbery charges (Counts Two, Four, Six, Eight, Ten,

Twelve, Fourteen, Sixteen, Eighteen, Twenty, and Twenty-Two) from 18 years to 16 years,

concurrent. And, I shall reduce the sentence for Count Five from 25 years to seven years,

consecutive. Harris’s consecutive sentence of seven years for Count Three remains unchanged.

This reduces Harris’s sentence to a total of 30 years’ incarceration, representing concurrent terms


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of 16 years for the robbery charges and 14 years, consecutive, for the two § 924(c) counts. And, I

shall adopt all of the previously imposed terms and conditions of supervised release, as initially

imposed.

       An Order follows.



Date: December 30, 2020                                            /S/
                                                            Ellen L. Hollander
                                                            United States District Judge




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